Case No. 1:23-cv-02291-PAB Document 1-5 filed 09/07/23 USDC Colorado pg 1 of 1




 DISTRICT COURT, DENVER COUNTY, COLORADO
 Court Address:
 1437 BANNOCK STREET, RM 256, DENVER, CO, 80202
                                                               DATE FILED: September 6, 2023 10:56 AM
 Petitioner(s) NORMA ANDERSON et al.                           CASE NUMBER: 2023CV32577
 v.
 Respondent(s) JENA GRISWOLD et al.



                                                                                         COURT USE ONLY
                                                                               Case Number: 2023CV32577
                                                                               Division: 466     Courtroom:

                                                  Notice of Recusal



 The undersigned Judge hereby recuses from this case. The case will be sent to Courtroom 259 for reassignment.


 Issue Date: 9/6/2023




 MARK T BAILEY
 District Court Judge




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